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                       IN THE UNITED STATES DISTRICT COURT                            FILED
                                                                             . U.S. DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA                      OJSTRJCT OF NEBRASKA

UNITED ST ATES OF AMERICA,                                                   20'8 AUG 22 PH I: 01
                                                                  8:18CR~l-~      ..
                     Plaintiff,                                             -•r r lGt. OF rH£ CLERK
                                                              INDICTMENT
       vs.
                                                             18 U.S.C. § 371
STEVEN MICHAEL BRAITHWAITE,                                29 U.S.C. § 666(e)
ADAM THOMAS BRAITHWAITE,                                42 U.S.C. § 6928(d) & (e)
NEBRASKA RAILCAR CLEANING                                   18 U.S.C. § 1519
SERVICES LLC,                                               18 U.S .C. § 1621

                     Defendants.


                                      INDICTMENT

THE GRAND JURY CHARGES:

                                       COUNT ONE

                                        (Conspiracy)

At all times relevant to this Indictment:

The Occupational Safety and Health Act

         1.   Congress enacted the Occupational Safety and Health Act (OSH Act) to

reduce workplace injuries, illnesses, and deaths. 29 U.S.C. § 651 et seq.

         2.   The Occupational Safety and Health Administration (OSHA) was an

agency of the United States Department of Labor, and was responsible for the

promulgation and enforcement of safety and health regulations covering federal and

private sector workers throughout the United States.

         3.   The OSH Act and its regulations required, among other things, that

employers: (1) Evaluate confined space conditions for safety prior to allowing employees

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to enter; (2) Not allow employees to enter a confined space where the internal atmosphere

exceeds ten percent of its lower flammable (or explosive) limit (LEL) ; (3) Not allow

employees to enter a confined space where the employees would be exposed to over ten

parts per million (ppm) of benzene for fifteen minutes; (4) Complete a confined space entry

permit that describes among other things the permit space to be entered, the purpose of

entry, the authorized entrants, the hazards of the permit space, the acceptable entry

conditions, and the results of initial and periodic tests; and ( 5) Train the entry attendant and

the entry supervisor regarding, among other things, the hazards that may be faced during

entry. 29 C.F.R. § 1910.146(b), (d), (f), (g), § 1910.1028(c)(2).

The Resource Conservation and Recovery Act

         4.   The Resource Conservation and Recovery Act (RCRA) was enacted by

Congress to address the problem of hazardous waste treatment, storage, and disposal in

the United States. 42 U.S .C. § 6901 et seq. The intent of RCRA was to protect human

health and the environment by requiring the proper and safe management of hazardous

waste from the time it was created until the time it is disposed, and at all points between.

         5.   RCRA regulated the generation, treatment, storage, transportation, and

disposal of hazardous wastes by establishing a system of management standards,

notifications, reports, manifests, and permits. This system of continually tracking

hazardous waste is referred to as "cradle-to-grave" management.

         6.   RCRA prohibited the treatment, storage, and disposal of hazardous waste

without a permit issued under RCRA. RCRA permits are issued by the United States

Environmental Protection Agency (EPA) or by an EPA-authorized state. At all times

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 relevant to this indictment, the State of Nebraska, through the Nebraska Department of

 Environmental Quality (NDEQ), was authorized to issue and enforce RCRA permits and

 regulations in the State of Nebraska. 42 U.S.C. § 6926; 50 Fed. Reg. 3345; 128 Neb.

 Admin. Code, Ch. 1, et. seq.

          7.   The EPA was an agency of the United States, and was responsible for the

 promulgation and enforcement of environmental regulations in accordance with RCRA.

          8.   RCRA required the EPA to identify and list "hazardous wastes." 42 U.S.C.

 § 6921. The term "hazardous waste" refers to substances and materials that are solid

 wastes and that are hazardous to people or the environment either by virtue of their

 characteristics, for example ignitability or toxicity, or because they are specifically listed

 by the EPA through published regulations . 40 C.F.R. § 261.20 et seq.; 128 Neb. Admin.

 Code §2- 004.02.

          9.   A solid waste will exhibit the hazardous characteristic of ignitability if it

 ignites at less than si_xty degrees Centigrade (140 degrees Fahrenheit) and thus presents a

· danger to human health or the environment. 40 C.F.R. § 261.21; 128 Neb . Admin. Code§

 3-007.

          10. A solid waste will exhibit the hazardous characteristic of toxicity for

 benzene if an extract from a representative sample using the Toxicity Characteristic

 Leaching Procedure (TCLP) exceeds the regulatory level of 0.5 milligrams per liter

 (mg/L). 40 C.F.R. § 261.24; 128 Neb. Admin. Code§ 3-010.

          11. Benzene is a carcinogen and has other adverse health effects, and is found

 in crude oil and other petroleum.

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         12. Generators of solid waste are required to determine if their waste is either a

listed hazardous waste or a characteristic hazardous waste. A solid waste generator may

determine if the waste is characteristic hazardous either by testing the waste using the

methods set forth in the RCRA regulations or by applying knowledge of the hazardous

characteristic of the waste in light of the materials or the processes used. 40 C.F.R. §

262 .11; 128 Neb. Admin. Code§ 4-002.

         13. The term "treatment," when used in connection with hazardous waste,

includes any method, technique, or process designed to change the physical, chemical or

biological character or composition of hazardous waste so as to neutralize such waste or

so as to render it nonhazardous or less hazardous or safer for transport. 42 U.S.C. §

6903(34); 128 Neb. Admin. Code§ 1-131.

         14. The term "disposal" means the discharge, deposition, injection, dumping,

spilling, leaking, or placing of any hazardous waste into or on any land or water so that

such hazardous waste or any constituent thereof may enter the environment. 42 U.S.C. §

6903(3); 128 Neb. Admin. Code§ 1-040. A generator of more than 100 kilograms

(approximately 25 gallons or one-half a 55-gallon drum) of hazardous waste in a month is

allowed to send its hazardous waste only to a disposal facility that is licensed under

RCRA. 42 U.S.C. § 6928(d)(l).

The Defendants

         15. Defendant Steven Michael Braithwaite was the President and majority

owner of Defendant Nebraska Railcar Cleaning Services, LLC (NRCS) and was



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responsible for all phases of the business. Steven Michael Braithwaite handled

environmental and worker safety issues for NRCS.

         16. Defendant Adam Thomas Braithwaite was the second in command as the

Vice President of Operations and part owner of Defendant NRCS, was involved in day-

to-day management of its operations, and also handled environmental and worker safety

issues for NRCS.

        17. Defendant NRCS was incorporated under the laws of the State of

Nebraska and did business in Omaha, Nebraska. NRCS was in the business of cleaning

railcars, including rail tanker cars, for NRCS customers prior to repair and other work

being performed on the railcars by other companies. The cleaning often involved NRCS

sending in workers to scrape and remove various commodities from tanker cars including

gasoline, ethanol, petroleum by-products, pesticides, herbicides, and food grade products.

NRCS workers would scrape thicker material from the floor of the tanker cars and

remove it by filling a bucket which was lifted through a "man way" at the top of the

railcar and emptied into another container, and ultimately put into a dumpster. Rail tanker

cars are "confined spaces" under the OSH Act. 29 C.F.R. § 1910.46(b).

        18. In his capacity as President and owner of Defendant NRCS and other

companies, Defendant Steven Michael Braithwaite had repeated contacts with OSHA

officials. Those contacts included regulatory inspections during which OSHA officials

notified Stephen Michael Braithwaite that NRCS was in violation of OSHA safety

regulations concerning confined space entries and Stephen Michael Braithwaite

promised to bring NRCS into compliance with the legal requirements.

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         19. Defendants Stephen Michael Braithwaite, Adam Thomas Braithwaite,

and NRCS were "employers" under the OSH Act. 29 U.S.C. § 652(5).

         20. In May 2014, Defendant NRCS amended its Health and Safety Program,

which stated that employees were not permitted to be in a rail tanker car if the LEL

exceeded 10%.

         21. The NRCS Health and Safety Program required benzene testing where

benzene exposure could reasonably be expected, "[d]ue to the fact that BENZENE is

toxic, colorless ... and is flammable ... " and required warning signs where benzene was

present that stated:

                                       DANGER
                                      BENZENE
                                   CANCER HAZARD
                               FLAMMABLE - NO SMOKING
                             AUTHORIZED PERSONNEL ONLY
                          RESPIRATORS REQUIRED IN THIS AREA

2013 OSHA Inspection of NRCS

         22. On or about July 31, 2013, OSHA inspected Defendant NRCS after

receiving complaints from employees about health and safety violations. OSHA found a

number of violations and issued, among others, a citation for violating the requirement

that entrants into confined spaces such as tanker cars monitor atmospheric conditions at

appropriate intervals during the entry.

         23. On or about February 5, 20 15, Defendant NRCS entered into a Corrective

Action Agreement with OSHA, which Defendant Steven Michael Braithwaite signed

on behalf of NRCS. Under the Corrective Action Agreement, NRCS and Steven


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Michael Braithwaite certified that NRCS had taken the following corrective action on

July 30, 2014:

              We are using Benzene as the limiting value. We are test (sic) the railcars
              prior to employee entrance for Benzene. We do not allow anyone in the
              tank until the reading is less than 5PPM which is 10 times the allowable
              TWA for Benzene and at the limit of our half-mask respirators ....

              The tank cars are monitored immediately prior to entrance by employees
              using a Multi-gas for 4 gasses (Oxygen, LEL, CO [Carbon Monoxide] , and
              H2S [Hydrogen Sulfide]) and Draeger tubes [benzene tubes] for the
              presence of Benzene. Cars will have their atmospheres tested at low,
              medium, and high locations at least every hour while employees occupy the
              cars. If readings dictate the attendant will take readings on a more frequent
              basis.

        24. On or about March 4, 2015, OSHA attempted to conduct a follow-up

inspection of Defendant NRCS. Defendant Steven Michael Braithwaite denied OSHA

entry and stated NRCS had a new policy to deny entry to OSHA and the EPA for

inspections unless they had a warrant.

        25. On or about March 4, 2015 , Defendant Adam Thomas Braithwaite

placed an order for Defendant NRCS to purchase benzene tubes from Company K, its

first purchase of benzene tubes.

        26. On or about March 25, 2015, OSHA obtained and served a warrant on

Defendant NRCS. During this inspection, OSHA requested certain records from

Defendant Adam Thomas Braithwaite, including respirator fit tests and employee

medical evaluations. Respirator fit tests and medical evaluations are required under the

OSH Act for all workers whose jobs require them to wear respirators. 29 C.F.R. §

1910.134.


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        27. On or about April 1, 2015, after not having received the requested records,

OSHA sent Defendant Adam Thomas Braithwaite an email again requesting the

records and additionally requesting invoices for benzene tubes purchased by Defendant

NRCS.

        28. On or about April 6, 2015 , Defendant Adam Thomas Braithwaite

emailed OSHA back, on which he copied Defendant Stephen Michael Braithwaite,

attaching records including benzene tube documents, respirator fit tests, and pulmonary

function tests (a type of medical evaluation):

          a. Benzene tube document - namely a packing slip purporting to be from

              Company K to NRCS and purporting to reflect an order for benzene tubes

              placed on June 17, 2014 (and a shipping date of June 16, 2014) - was a

              false document: Company K had not sold benzene tubes to NRCS before

              March 4, 2015.

          b. Respirator fit tests - dated July 11 , 2014, November 28, 2014, December

              19, 2014, and February 3, 2015 - were false documents and purportedly

              bore the signature of an NRCS employee who did not perform the

              respirator fit tests.

          c. Pulmonary function tests - dated July 10, 2014, November 27, 2014,

              December 18, 2014, and February 2, 2015 - were false documents and

              purportedly reflected tests conducted on NRCS employees by Company L,

              which in fact had not been conducted on those employees on those dates.



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2013 Nebraska Department of Environmental Inspection of NRCS

        29 . On or about June 26, 2013, the NDEQ conducted a hazardous waste

inspection of Defendant NRCS.

        30. During the inspection, Defendant Stephen Michael Braithwaite claimed

that Defendant NRCS did not generate any hazardous waste, but produced no

documentation of waste determinations when requested.

        31. On or about August 2, 2013, the NDEQ sent an inspection report to

Defendant NRCS, which explained that the company was required to conduct hazardous

waste determinations, including for crude oil, contaminated material, and ethanol. The

NDEQ report stated that crude oil may have characteristics that make it hazardous and

should be tested for ignitability and toxicity. Included with the report was an NDEQ

informational guidance document - "Waste Determinations & Hazardous Waste Testing"

-- that explained the hazardous waste determination requirements for all waste generators.

2014 US. Environmental Protection Agency Inspection of NRCS

        32. On or about July 9-10, 2014, the U.S. EPA conducted a RCRA inspection

of Defendant NRCS.

        33. During the inspection, Defendant Stephen Michael Braithwaite claimed

that he was making hazardous waste determinations for Defendant NRCS based on

"generator know ledge." NRCS did not test its waste to determine if it was hazardous.

The EPA inspector issued a notice of violation to NRCS for failure to make proper waste

determinations. The inspector also gave Stephen Michael Braithwaite the same



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informational guidance document NDEQ had - "Waste Determinations & Hazardous

Waste Testing."

         34. Based on its inspection, on or about October 29, 2014, the U .S. EPA issued

a letter of warning to Defendant NRCS for failure to make proper hazardous waste

determinations by testing its waste for hazardous qualities. EPA also issued NRCS an

information request for documentation of hazardous waste determinations.

         35. Defendant NRCS failed to send EPA hazardous waste determinations

before an explosion occurred on April 14, 2015.

         36. On or about April 16, 2015, Defendant NRCS collected samples from

three rail tanker cars for testing whether waste from those railcars were hazardous. The

Material Safety Data Sheets (MSDS) for the contents of two (rail cars ACFX94580 and

DBUX303094) of the three railcars identified the contents as ignitable; one of those two

also tested positive for benzene above the RCRA limit, making the contents of those two

railcars hazardous.

The April 14, 2015, Explosion of Rail Tanker Car NATX303912

         37. On or about January 27 , 2015, Defendant NRCS received an inquiry about

receiving and cleaning rail tanker car NATX303912, which included the MSDS for the

product in the railcar, describing it as "natural gasoline," also known as "petrol, casing

head gasoline, C5 ' s." The MSDS listed the flammability rating as "severe" at class "4"

(the highest rating), that the natural gasoline would ignite at O degrees Fahrenheit, and

that it contained benzene, a "cancer hazard." NRCS responded that it could handle the

material in the railcar.

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         38. On or about March 25, 2015, Defendants NRCS and Adam Thomas

Braithwaite received another email about rail tanker car NATX303912 which included

the same MSDS sent on January 27, 2015.

         39. On or about April 14, 2015, Defendant NRCS prepared to clean residue

from tanker car NATX303912, which contained "natural gasoline." During the morning,

an employee of NRCS tested rail tanker car NATX303912 using a 4-gas meter, which

showed that explosive gases greatly exceeded 10% of the LEL. Under NRCS policy and

OSHA regulations, only if an LEL of less than 10% was reached could workers be sent

into the rail tanker car, and after they were sent in continuous monitoring was required to

ensure the LEL did not reach 10%.

         40. LEL levels for tanker car NATX303912 did not drop below 10% on April

14, 2015. Nonetheless, Defendant NRCS sent two of its employees into the tanker car.

Continuous monitoring was not conducted. Approximately one hour later, its contents

ignited and exploded, killing those two employees and injuring a third.

         41. Defendant NRCS's April 14, 2015, confined space entry permit for rail

tanker car NATX303912 showed that the LEL level was O and that the benzene level

tested at less than 5 ppm. Benzene was not tested for prior to or after entry of the

deceased workers.

       42.    On or about July 8, 2015, Adam Thomas Braithwaite was interviewed

under oath by OSHA and Department of Labor representatives. He falsely stated that

Defendant NRCS began using benzene tubes immediately after the 2013 OSHA

inspection.

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       43.       Beginning on a date unknown and including from on or about February

2015 through in or about July 2015 , in the District of Nebraska and elsewhere,

                                           Defendants

                                 D-1 Stephen Michael Braithwaite
                                 D-2 Adam Thomas Braithwaite
                               . D-3 Nebraska Railcar Cleaning Services LLC

unlawfully and knowingly conspired with each other and with other individuals, both

known and unknown to the Grand Jury, to commit the following offenses against the

United States: to defraud the United States and an agency thereof, to wit, to hamper,

hinder, impair, impede, and obstruct, by trickery, deceit, and dishonest means, the lawful

and legitimate functions of the U.S. Department of Labor and its agency, the

Occupational Safety and Health Administration, in the administration and enforcement of

worker safety and health laws at Defendant NRCS.

        44. The manner and means of the conspiracy included, but were not limited to

the following:

                 1.   It was part of the conspiracy that Defendants Stephen Michael

                      Braithwaite and Adam Thomas Braithwaite, together with others

                      known and unknown to the Grand Jury, created false documents to

                      falsely portray that Defendant NRCS was complying with worker

                      safety standards required by law and worker safety agreements reached

                      with OSHA.

             11.      It was further a part of the conspiracy that Defendants Stephen

                      Michael Braithwaite and Adam Thomas Braithwaite, together with

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                  others known and unknown to the Grand Jury, would orally

                 misrepresent to OSHA inspectors that Defendant NRCS was

                  complying with worker safety standards required by law and worker

                  safety agreements reached with OSHA.

                                  1.     Overt Acts

        45. Overt acts committed in furtherance of the conspiracy and to effect the

illegal objects thereof included, but were not limited to, the following:

          a. On or about February 5, 2015, Defendant Stephen Michael Braithwaite

              signed a Corrective Action Agreement on behalf of Defendant NRCS

              which falsely stated that NRCS had been using benzene tubes since July

              2014.

          b. On or about March 4, 2015, Defendant Stephen Michael Braithwaite

              denied an OSHA inspector entry to Defendant NRCS when the inspector

              arrived to conduct a follow-up inspection.

          c. On or about March 4, 2015, Defendant Stephen Michael Braithwaite sent

              Defendant Adam Thomas Braithwaite a copy of the Corrective Action

              Agreement.

          d. On or about March 4, 2015, Defendant Adam Thomas Braithwaite

              placed an order on behalf of Defendant NRCS for benzene testing tubes.

          e. On or about April 2, 2015, Defendant Adam Thomas Braithwaite

              forwarded to Defendant Stephen Michael Braithwaite an email from



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              OSHA that repeated its request for certain health and safety documents it

              had not received.

         f. On or about April 6, 2015 , Defendant Adam Thomas Braithwaite created

              and submitted to OSHA a false shipping document for benzene tubes.

         g. On or about April 6, 2015, Defendant Adam Thomas Braithwaite created

              and submitted to OSHA false respirator fit test results for NRCS

              employees.

         h. On or about April 6, 2015 , Defendants Stephen Michael Braithwaite and

              Adam Thomas Braithwaite created and submitted to OSHA false

              pulmonary function test results for NRCS employees.

         1.   On or about July 8, 2015, Defendant Adam Thomas Braithwaite falsely

              testified to OSHA and Department of Labor representatives that Defendant

              NRCS began using benzene tubes immediately after the 2013 OSHA

              inspection.

      All in violation of Title 18, United States Code, section 371.

                                     COUNT TWO

         (Violation of Worker Safety Standard Causing a Worker Death)

       46. The Grand Jury realleges paragraphs 1 through 41 of Count One.

       47. On or about April 14, 2015 , in Omaha, Nebraska, within the District of

Nebraska, Defendants

                            D-1 Stephen Michael Braithwaite
                            D-2 Adam Thomas Braithwaite
                            D-3 Nebraska Railcar Cleaning Services LLC

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knowingly and willfully violated standards promulgated pursuant to the OSH Act causing

the death of an employee, namely they:

                 a. Allowed Employee H to enter a confined space where the internal

                     atmosphere exceeded the proscribed limit of 10% of the lower

                     explosive limit; and

                 b. Failed to train the entry supervisor regarding the hazards that may be

                     faced during entry before allowing Employee H to enter a confined

                     space.

      In violation of Title 29, United States Code, section 666(e) and Title 18, United

States Code, section 2.

                                     COUNT THREE

          (Violation of Worker Safety Standard Causing a Worker Death)

        48 . The Grand Jury realleges paragraphs 1 through 41 of Count One.

        49. On or about April 14, 2015 , in Omaha, Nebraska, within the District of

Nebraska, Defendants

                              D-1 Stephen Michael Braithwaite
                              D-2 Adam Thomas Braithwaite
                              D-3 Nebraska Railcar Cleaning Services LLC

knowingly and willfully violated standards promulgated pursuant to the OSH Act causing

the death of an employee, namely they:




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                 a. Allowed Employee F to enter a confined space where the internal

                     atmosphere exceeded the proscribed limit of 10% of the lower

                     explosive limit; and

                 b. Failed to train the entry supervisor regarding the hazards that may be

                     faced during entry before allowing Employee F to enter a confined

                     space.

       In violation of Title 29, United States Code, section 666(e) and Title 18, United

States Code, section 2.

                                     COUNT FOUR

                       (Knowing Endangerment in Violation of
                    the Resource Conservation and Recovery Act)

         50. The Grand Jury realleges paragraphs 1 through 41 of Count One.

         51. On or about April 14, 2015 , in Omaha, Nebraska, within the District of

Nebraska, Defendants

                              D-1 Steven Michael Braithwaite
                              D-2 Adam Thomas Braithwaite
                              D-3 Nebraska Railcar Cleaning Services LLC

did knowingly treat and cause to be treated hazardous waste (to wit, ignitable and toxic)

from railcar NATX303912, without a permit issued pursuant to RCRA, knowing at the

time that they did thereby place NRCS employees in imminent danger of death or serious

bodily injury.

       All in violation of Title 42, United States Code, section 6928( e), and Title 18,

United States Code, section 2.


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                                      COUNT FIVE

                 (Illegal Treatment of Hazardous Waste in Violation
                   of the Resource Conservation and Recovery Act)

        52. The Grand Jury realleges paragraphs 1 through 41 of Count One.

        53. On or about April 14, 2015 , in Omaha, Nebraska, within the District of

Nebraska, Defendants

                            D-1 Steven Michael Braithwaite
                            D-2 Adam Thomas Braithwaite
                            D-3 Nebraska Railcar Cleaning Services LLC

did knowingly treat and cause to be treated hazardous waste (to wit, ignitable and toxic)

from railcar NATX303912, without a permit issued pursuant to RCRA.

       All in violation of Title 42, United States Code, section 6928( d)(2)(A), and Title

18, United States Code, section 2.

                                       COUNT SIX

       (Illegal Transportation of Hazardous Waste to an Unpermitted Facility
             in Violation of the Resource Conservation and Recovery Act)

        54. The Grand Jury realleges paragraphs 1 through 41 of Count One.

        55. On or about April 2015 in Omaha, Nebraska, within the District of

Nebraska, Defendants

                            D-1 Steven Michael Braithwaite
                            D-2 Adam Thomas Braithwaite
                            D-3 Nebraska Railcar Cleaning Services LLC




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did knowingly cause hazardous wastes from railcars ACFX94580 (ignitable and toxic)

and DBUX303094 (ignitable) to be transported to a disposal facility that did not have a

RCRA permit to dispose of hazardous waste.

       All in violation of Title 42, United States Code, section 6928( d)(l ), and Title 18,

United States Code, section 2.

                                     COUNTSEVEN

               (Transportation of Hazardous Waste without a Manifest
            in Violation of the Resource Conservation and Recovery Act)

        56. The Grand Jury realleges paragraphs 1 through 41 of Count One.

        57. On or about April 2015 in Omaha, Nebraska, within the District of

Nebraska, Defendants

                            D-1 Steven Michael Braithwaite
                            D-2 Adam Thomas Braithwaite
                            D-3 Nebraska Railcar Cleaning Services LLC

did knowingly cause hazardous wastes from railcars ACFX94580 and DBUX303094 to

be transported without a manifest, which was required to be accompanied by a manifest.

      All in violation of Title 42, United States Code, section 6928( d)(5), and Title 18,

United States Code, section 2.

                                     COUNT EIGHT

                  (Falsification of Records in a Federal Investigation)

        58. The Grand Jury realleges paragraphs 1 through 41 of Count One.

        59. On or about April 6, 2015 , in Omaha, Nebraska, within the District of

Nebraska, Defendants


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                            D-2 Adam Thomas Braithwaite
                            D-3 Nebraska Railcar Cleaning Services LLC

did knowingly falsify and make a false entry into a record and document, to wit, a false

shipping record for benzene tubes, with the intent to impede, obstruct, and influence the

investigation and proper administration of a matter within the jurisdiction of a department

and agency of the United States, that is the Occupational Health and Safety

Administration within the U.S . Department of Labor.

       All in violation of Title 18, United States Code, section 1519 and Title 18, United

States Code, section 2.

                                     COUNT NINE

                 (Falsification of Records in a Federal Investigation)

        60. The Grand Jury realleges paragraphs 1 through 41 of Count One.

        61. On or about April 6, 2015 , in Omaha, Nebraska, within the District of

Nebraska, Defendants

                            D-2 Adam Thomas Braithwaite
                            D-3 Nebraska Railcar Cleaning Services LLC

did knowingly falsify and make a false entry into a record and document, to wit, false

respirator fit tests for NRCS employees, with the intent to impede, obstruct, and

influence the investigation and proper administration of a matter within the jurisdiction of

a department and agency of the United States, that is the Occupational Health and Safety

Administration within the U.S. Department of Labor.

       All in violation of Title 18, United States Code, section 1519 and Title 18, United

States Code, section 2.

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                             COUNTS TEN TO NINETEEN

                   (Falsification of Records in a Federal Investigation)

           62. The Grand Jury realleges paragraphs 1 through 41 of Count One.

           63. On or about April 6, 2015, in Omaha, Nebraska, within the District of

Nebraska, Defendants

                             D-1 Stephen Michael Braithwaite
                             D-2 Adam Thomas Braithwaite
                             D-3 Nebraska Railcar Cleaning Services LLC


did knowingly falsify and make a false entry into a record and document, to wit, false

pulmonary function tests for NRCS employees, with the intent to impede, obstruct, and

influence the investigation and proper administration of a matter within the jurisdiction of

a department and agency of the United States, that is the Occupational Health and Safety

Administration within the U.S. Department of Labor, as follows:

 Count            TYQe of Record              Date on Record    Date Created Em2loyee

 Ten              Pulmonary Function Test     2/2/2014          4/2015              A

 Eleven           Pulmonary Function Test     7/10/2014         4/2015              B

 Twelve           Pulmonary Function Test     7/10/2014         4/2015              C

 Thirteen         Pulmonary Function Test     7/10/2014         4/2015              D

 Fourteen         Pulmonary Function Test     11/27/2014        4/2015              E

 Fifteen          Pulmonary Function Test     12/18/2014        4/2015              F

 Sixteen          Pulmonary Function Test     12/ 18/2014       4/2015              G


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 Seventeen       Pulmonary Function Test      2/2/2015           4/2015                H

 Eighteen        Pulmonary Function Test      2/2/2015           4/2015                I

 Nineteen        Pulmonary Function Test      2/2/2015           4/2015                J



       All in violation of Title 18, United States Code, section 1519 and Title 18, United

States Code, section 2.

                                   COUNT TWENTY

                  (Falsification of Records in a Federal Investigation)

        64. The Grand Jury realleges paragraphs 1 through 41 of Count One.

        65. On or about April 14, 2015 , in Omaha, Nebraska, within the District .of

Nebraska, Defendant

                            D-3 Nebraska Railcar Cleaning Services LLC

did knowingly falsify and make a false entry into a record and document, to wit, a

Confined Space Entry Permit for railcar NATX303912 that falsely stated the lower

explosive limit was O and that a benzene test had been conducted, with the intent to

impede, obstruct, and influence the investigation and proper administration of a matter

within the jurisdiction of a department and agency of the United States, that is the

Occupational Health and Safety Administration within the U.S. Department of Labor.

       All in violation of Title 18, United States Code, section 1519 and Title 18, United

States Code, section 2.




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                                COUNT TWENTY-ONE

                  (Falsification of Records in a Federal Investigation)

        66. The Grand Jury realleges paragraphs 1 through 41 of Count One.

        67. From on or about June to on or about September 201 5, in Omaha,

Nebraska, within the District of Nebraska, Defendant

                            D-3 Nebraska Railcar Cleaning Services LLC

did knowingly falsify and make a false entry into a record and document, to wit,

Confined Space Entry Permits that falsely stated that Defendant NRCS had tested the

contents of rail tanker cars for benzene during the December 2014 - March 5, 2015 time

period, with the intent to impede, obstruct, and influence the investigation and proper

administration of a matter within the jurisdiction of a department and agency of the

United States, that is the Occupational Health and Safety Administration within the U.S.

Department of Labor.

       All in violation of Title 18, United States Code, section 1519 and Title 18, United

States Code, section 2.

                               COUNT TWENTY-TWO

                                        (Perjury)

        68. The Grand Jury realleges paragraphs 1 through 42 of Count One.

        69. On or about July 8, 2015 , in Omaha, Nebraska, within the District of

Nebraska, Defendant

                            D-2 Adam Thomas Braithwaite



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having duly taken an oath before a competent officer of the U.S . Department of Labor

during an investigation duly authorized by OSHA, a case in which 29 U.S.C. § 657(b)

authorizes an oath to be administered, that he would testify truthfully, did voluntarily and

intentionally and contrary to said oath state material matter which he did not believe to be

true, that is to say:

          70.   At the time and place OSHA was conducting an investigation into the

practices and safety standards followed by Defendant NRCS to determine whether

NRCS had violated 29 C.F.R. § 1910.1028 and the February 5, 2015 , Corrective Action

Agreement regarding the use of tubes to test for benzene before NRCS employees

entered railcars. It was material to the aforesaid investigation to determine if and when

NRCS had used benzene testing tubes.

         71. At the time and place described above, Defendant Adam Thomas

Braithwaite appeared as a witness before OSHA, and then and there being under oath,

testified falsely before OSHA regarding the described material matter as follows:

                        Q. Other than a four gas monitor, have you known of any other air

                        contaminate monitoring equipment used by Nebraska Railcar?

                        A. I have Draeger tube - Draeger tubes.

                        Q. And tell me what those are.

                        A. It's for benzene, measures the benzene in the car.

                        Q. And when did those start being used by Nebraska Railcar?

                        A. Since the first OSHA Investigation, that they approved of using

                        the Draeger tubes for benze.ne, which was required.

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                       Q. Are you talking about the 2013 Inspection?

                       A. That's the first one, yeah. It's whenever that was an issue on the -

                       in the Investigation. And then we settled, and they said we could use

                       that versus buying a benzene monitor.

                       Q. Okay. And I understand that settlement was almost- maybe we'll

                       see later, I don't know, but it was stemming from that -

                       A. We started to use that immediately because we didn't want to get

                       in trouble not using that so ...

          72. The above underscored testimony of Defendant Adam Thomas

Braithwaite, as he then and there well knew and believed, was false in that Defendant

NRCS had not used benzene tubes before March 5, 2015.

       All in violation of Title 18, United States Code, section 1621 and Title 18, United

States Code, section 2.




       The United States of America requests that trial of this cas_e-1:5e
pursuant to the rules of this Court.



                                               By:



                                                           Ls .
                                                        enior Counsel
                                                       Environmental Crimes Se tion, US. DOJ
